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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION


UNITED STATES OF AMERICA


v.                                                    CRIMINAL ACTION NO. 3:07-00034-03

BRYANT HOLLOWAY
    also known as “BU”


                          MEMORANDUM OPINION AND ORDER

       Pending is Bryant. Holloway’s Motion for Modification of Term of Imprisonment (Doc. 506)

for the reasons explained below, the motion is DENIED.

       Through his motion, Mr. Holloway requests the Court reduce his term of imprisonment. His

principle argument for reduction is based on the disparity between crack and powder cocaine

sentencing. In making this argument, however, he brings up a related but separate issue. Mr.

Holloway argues, pursuant to U.S. v. Brisbane, 367 F.3d 910 (D.C. Cir. 2004), that the government

failed to prove the substance he distributed was “cocaine base” within the meaning of the Anti-Drug

Abuse Act of 1986.

       The Brisbane decision, is the D.C. Circuit Court of Appeals’s current contribution to an

active discussion in the appellate court system regarding the meaning of “cocaine base” in Title 18

of the United States Code. See U.S. v. Higgins, 557 F.3d 381 (6th Cir. 2009) (describing the current

state of affairs). While some circuit courts of appeal confine the meaning of cocaine base to “crack”

others, including the Fourth Circuit Court of Appeals, find the statutory language more

encompassing. Id. at 395-95; see also, United States v. Ramos, 462 F.3d 329 (4th Cir. 2006)

(explaining that in the Fourth Circuit cocaine base is not limited simply to “crack”).
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        The problem with the term “cocaine base” that it is perceived by some courts to be an

imprecise descriptor, based on the chemical composition of various forms of cocaine.           This is

because cocaine in its natural form is an alkaloid – in other words a “base.” Higgins, 557 F.3d at

392-93. Every one of the circuits to examine the issue have concluded, however, that Congress

clearly meant to punish “crack” cocaine more harshly than powder cocaine.            United States v.

Medina, 427 F.3d 88, 92 (1st Cir.2005); United States v. Fields, 113 F.3d 313, 325 (2d Cir.1997);

United States v. Barbosa, 271 F.3d 438, 466-67 (3d Cir.2001); United States v. Ramos, 462 F.3d

329, 333-34 (4th Cir.2006); United States v. Butler, 988 F.2d 537, 543 (5th Cir.1993); United States

v. Higgins, 557 F.3d 381 (6th Cir. 2009); United States v. Edwards, 397 F.3d 570, 577 (7th

Cir.2005); United States v. Hollis, 490 F.3d 1149, 1155 (9th Cir.2007); United States v. Easter, 981

F.2d 1549, 1558 (10th Cir.1992); United States v. Munoz-Realpe, 21 F.3d 375, 376-77 (11th

Cir.1994). In the instant case, Mr. Holloway admitted to and pled guilty to the charge of distributing

“50 grams of cocaine base, also known as ‘crack.’” See November 8, 2007 Letter Form Plea

Agreement, Doc. 346. Because he pled guilty to this charge, did not submit the government to its

burden to prove the substance he distributed was crack (or another form of cocaine base within the

meaning of the statute), and did not make any argument that the controlled substance at the center

of his charge was anything other than crack, he cannot now argue that he distributed anything other

than cocaine base within the meaning of the statute.1 His argument made pursuant to Brisbane must

fail.




        1
       Mr. Holloway did not appeal this issue and waived his right to collateral attack in his plea
agreement. See November 8, 2007 Letter Form Plea Agreement, Doc. 346.

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       Mr. Holloway’s principal argument is based on the sentencing disparities between cocaine

powder and cocaine base as recognized by the U.S. Sentencing Commission and the U.S. Supreme

Court. See, U.S.S.G. App. C, Amend. 706 (Supp. 2007); see also, Kimbrough v. U.S. 552 U.S. 85

(2007). Holloway argues that 18 U.S.C. § 3582(b)(2) provides authority for his Court to modify his

sentence as a result of the Sentencing Commission’s reduced guideline range for crack cocaine

offenses.

       Pursuant to 18 U.S.C. § 3582 a sentence may be modified only, 1) upon a motion by the

Director of the Bureau of Prisons; 2) when the U.S. Sentencing Commission lowers the applicable

sentencing guideline range; or 3) when otherwise permitted by Rule 35 of the Federal Rules of

Criminal Procedure or a federal statute. Mr. Holloway’s argument fails because he was sentenced

after the relevant sentencing guidelines for crack cocaine offenses were lowered. See U.S.S.G. App.

C, Amend. 706 (Supp. 2007). Mr. Holloway was sentenced on February 12, 2008, three months

after the reduced guidelines became effective. There has been no subsequent lowering of the

applicable sentencing guideline range. Consequently, 18 U.S.C. § 3583(b)(2) does not provide this

court with the authority to modify his sentence.

       The Court was also well aware of the U.S. Supreme Court’s decision in Kimbrough at the

time of Mr. Holloway’s sentencing. The Kimbrough, decision was issued on December 10, 2007,

approximately one month prior to Mr. Holloway’s sentencing hearing. The Court was familiar with

the Supreme Court’s reasoning as well as this Court’s ability to vary from a guideline range sentence

based on its disagreement with the crack/powder disparity. At Mr. Holloway’s sentencing the Court

took into consideration both the recommended guideline range and each of the factors listed in 18

U.S.C. § 3553. The Court stands by the sentence imposed.


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       In conclusion, the Court finds no basis on which it would be permitted or could be persuaded

to reduce Mr. Holloway’s sentence. He chose not to put the government to its burden of proving

the nature of the controlled substance he distributed and, indeed, admitted that it was “cocaine base,

also known as ‘crack.’” He has already received the benefit of a reduced sentence pursuant to a

guideline amendment recognizing the disparate treatment of crack and powder cocaine offenders.

At the time of Mr. Holloway’s sentencing, this Court was well aware of its ability to vary from a

guideline range, as described by the U.S. Supreme Court in Kimbrough. It chose not to vary but did

give Mr. Holloway the benefit of a sentence at the low end of the recommended guideline range.

For these reasons, Mr. Holloway’s motion is DENIED.

       The Court DIRECTS the Clerk to send a copy of this written Opinion and Order to counsel

and the defendant, the U.S. Attorney’s Office, the U.S. Probation Office, and the U.S. Marshals’

Service.


                                                       ENTER:         November 12, 2009




                                                       ROBERT C. CHAMBERS
                                                       UNITED STATES DISTRICT JUDGE




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